Case 2:20-cv-08035-SVW-JPR Document 120 Filed 04/16/21 Page 1 of 3 Page ID #:1941




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 9

10   Attorneys for Plaintiff/Counter-Defendant,
     Hong Liu
11                       UNITED STATES DISTRICT COURT FOR
12
                       THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
13    HONG LIU,
                                            Case No: 2:20-cv-08035-SVW-JPR
14                 Plaintiff,
                                            DISCOVERY MATTER:
15

                        v.                  NOTICE OF MOTION OF
16
                                            PLAINTIFF HONG LIU’S
17                                          EXPEDITED MOTION
      FARADAY&FUTURE INC.,                  FOR DETERMINATION OF
18    SMART KINGLTD., JIAWEI                URGENT PRIVILEGE ISSUE AND
      WANG, and CHAOYING DENG               TO COMPEL PRODUCTION
19

20                Defendants.               Complaint filed on: January 3, 2020

21                                          Second Amended Counterclaim filed on:
                                            March 11, 2021
22    FARADAY&FUTURE INC.,                  JUDGE: Hon. Jean P. Rosenbluth
23                                          DATE:       April 23, 2021
                  Counterclaimant,          TIME:       TBD
24                                          CTRM:       690
25                      v.
26
      HONG LIU,
27                Counter-Defendant.
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                                               1
                             PLAINTIFF HONG LIU’S NOTICE OF MOTION
                               CASE NO.: 2:20-CV-08035-SVW-JPR
Case 2:20-cv-08035-SVW-JPR Document 120 Filed 04/16/21 Page 2 of 3 Page ID #:1942




 1
     TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2
           PLEASE TAKE NOTICE that on April 23, 2021 or as soon thereafter as this
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     matter can be heard before the Honorable Jean P. Rosenbluth of the United States
 4
     District Court for the Central District of California, in Courtroom 690 of the above-
 5
     entitled Court, located at 255 E. Temple St., Los Angeles, CA, 90012, Plaintiff/Counter-
 6
     Defendant Hong Liu (“Plaintiff”) will and hereby does move the Court pursuant to
 7
     Federal Rules of Civil Procedure 34 and 37 for an order (i) determining that defendants
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     Faraday&Future Inc.’s (“FF”), FF Intelligent Mobility Global Holdings Ltd.’s (f/k/a
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     Smart King Ltd. (“Smart King”)), Jiawei Wang, and Chaoying Deng (collectively,
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     “Defendants”) are improperly asserting the attorney-client and work product privileges
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     and are withholding relevant documents and blocking critical deposition discovery on
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     the basis of this improper assertion of the privileges; and (ii) compelling production of

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     documents withheld on the basis of the assertion of these privileges.

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           This motion is made following the conference of counsel for Plaintiff and

16   Defendants, which took place on March 14, 2021, and following the parties’ colloquy
17   during the Court’s April 15, 2021 hearing and pursuant to the Court’s April 15, 2021
18   Minutes (ECF 118), by which the Court authorized Plaintiff to file the present motion
19   no later than April 16, 2021.
20          This motion is based on this Notice; the supporting Memorandum of Points and
21   Authorities filed and served herewith; the Declaration of Amiad Kushner and the
22   exhibits attached thereto; the papers on file with the Court in this matter; and upon such
23   further evidence and argument as may be presented to this Court prior to or at the hearing
24   on this motion. Plaintiff also serves and lodges along with this motion a proposed order
25   pursuant to L.R. 7-20.
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                                                 2
                               PLAINTIFF HONG LIU’S NOTICE OF MOTION
                                 CASE NO.: 2:20-CV-08035-SVW-JPR
Case 2:20-cv-08035-SVW-JPR Document 120 Filed 04/16/21 Page 3 of 3 Page ID #:1943




 1   Dated:     Los Angeles, California
 2
                April 16, 2021

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 4                                             Respectfully Submitted,
 5                                             FOUNDATION LAW GROUP LLP
 6

 7
                                               By:/s/ Kevin D. Hughes
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                                               Attorneys for Plaintiff/Counter-Defendant
12                                             HONG LIU
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                            PLAINTIFF HONG LIU’S NOTICE OF MOTION
                              CASE NO.: 2:20-CV-08035-SVW-JPR
